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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO




   SYMBOLOGY INNOVATIONS LLC

         Plaintiff,                           CIVIL ACTION NO. 1:18-cv-00879-MEH

         v.

   OTTER PRODUCTS, LLC

         Defendant.



                      OTTER PRODUCTS, LLC’s MOTION TO DISMISS FOR
                               FAILURE TO STATE A CLAIM
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          Defendant Otter Products, LLC (“OtterBox”) respectfully moves this Court to dismiss

   Plaintiff Symbology Innovations LLC’s (“Symbology’s”) Complaint for failure to state a claim

   upon which relief can be granted. On April 13, 2018, Symbology filed suit against OtterBox

   alleging infringement of United States Patent Nos. 8,424,752 (Dkt. 1-1, the “’752 Patent”);

   8,651,369 (Dkt. 1-2, the “’369 Patent”); and 8,936,190 (Dkt. 1-3, the “’190 Patent”, collectively,

   the “Patents-in-Suit”). See Dkt. 1 (“Complaint”). Long-standing precedent, tracing to the

   Supreme Court’s decision in Diamond v. Diehr, holds that “laws of nature, natural phenomena,

   and abstract ideas are not patentable.” 450 U.S. 175, 185 (1983); and see Mayo Collaborative

   Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 71 (2012) (“[A]bstract intellectual concepts are not

   patentable, as they are the basic tools of scientific and technological work.”). Notwithstanding,

   the asserted patents seek to lay claim to a monopoly over and preempt well-known and widely

   adopted abstract ideas in the fields of data recognition and retrieval, doing nothing more than

   suggesting use of conventional components to perform generic functions in the place of a human.

   But these are abstract ideas “free to all men and reserved exclusively to none,” leaving the asserted

   patents invalid under Section 101 of the Patent Act. Mayo, 566 U.S. at 71.

          Accordingly, OtterBox respectfully requests that the Court dismiss the Complaint pursuant

   to Rule 12(b)(6) for failure to state a claim upon which relief can be granted.

   I.     BACKGROUND AND PATENTS-IN-SUIT

          Plaintiff filed its Complaint on April 13, 2018, which alleged that OtterBox had infringed

   the Patents-in-Suit through use of methods set forth in “one or more claims” of the Patents-in-Suit.

   Symbology’s assertions of infringement allege “us[e] and/or incorporat[ion of] Quick Response

   (QR codes) into product packaging in a manner covered by one or more claims of” the Patents-in-

   Suit, based on alleged “internal[] testing of the functionality of [] QR codes in connection with

   product packaging”:
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   Complaint, ¶¶ 25, 39, and 53.

          The Patents-in-Suit purport to be directed towards a method “for enabling a portable

   electronic device to retrieve information about an object when the object's symbology, e.g., a

   barcode, is detected.” E.g., ’752 Patent, at Abstract. Each of the Patents-in-Suit share an identical

   abstract and specification, with substantively identical titles1, and each traces priority through

   continuation applications to Application No. 12/882,616.2 Moreover, each of the asserted claims3

   are substantively and functionally identical. See infra, at Section III.B.




   1
       The ’369 Patent is titled “System and method for presenting information about an object on a
       portable device”, with the ’752 and ’190 Patents titled “System and method for presenting
       information about an object on a portable electronic device.” See Patents-in-Suit (emphasis
       denoting difference added).
   2
       See generally Patents-in-Suit, at Abstract, Specification; and see id. at Related U.S.
       Application Data.
   3
       Symbology’s Complaint alleges infringement of Claim 6 of the ’752 Patent, Claim 6 of the
       ’369 Patent, and Claim 6 of the ’190 Patent. Dkt. 1, at ¶¶ 23 (asserting Claim 6 of the ’752
       patent), 37 (Claim 6 of the ’369 patent), and 51 (Claim 6 of the ’190 patent).



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          The asserted claims perform steps that could be performed in the mind of an individual,

   such as a librarian. For example, Claim 6 of the ’752 Patent merely claims a series of rote steps:

          (1)     capturing an image with a generic ‘portable [electronic] device’ (e.g., viewing a

                  book label);

          (2)     detecting symbology (e.g., recognizing a barcode or Dewey Decimal

                  classification);

          (3)     decoding that symbology to return information (e.g., interpreting that

                  classification);

          (4)     sending that information to a generic server for processing and receiving

                  information in response from that generic server (e.g., asking a colleague where to

                  find a certain author in the non-fiction section); and

          (5)     displaying that information received on the ‘portable [electronic] device’ (e.g.,

                  informing a patron where the book would be located);

          (6)     where the detection is automatic, and alerts the user of the detection to ask if

                  decoding of such symbology is desired, and receives a reply from a user (e.g.,

                  offering the patron assistance locating the book).

   And see ’752 Patent, Claim 6.

          While the applicant may divide the process into multiple steps, it is ultimately directed to

   the abstract process of recognizing and retrieving information related to patterns long known and

   used in the art. The asserted patents claim these underlying abstract ideas functionally, rather than

   presenting concrete and specific improvements that inform how those functions are achieved, and

   attempt to claim all implementations of the abstract ideas. And implementation of an abstract idea

   on a generic computer system “fail[s] to transform that abstract idea into a patent-eligible

   invention.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2357 (2014) (“Alice”).



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   II.    APPLICABLE LAW

          A.      Dismissal Pursuant to Rule 12(b)(6)

          “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); and see Fed.

   R. Civ. P. 12(b)(6) (permitting motion to dismiss for failure to state a claim upon which relief can

   be granted). “A claim has facial plausibility when the plaintiff pleads factual content that allows

   the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

   Ashcroft, 556 U.S. at 678. While well-pleaded facts must be taken as true, the Court should

   disregard “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

   statements.” Id. at 678.

          B.      Failure to State a Claim Where a Patent Claims Ineligible Subject Matter

          Under the Patent Act, abstract ideas are not eligible for patent protection, unless a purported

   inventor has contributed an inventive concept that transforms the abstract idea into something

   more. See 35 U.S.C. § 101. Whether the claims of the Patents-in-Suit are directed to ineligible

   subject matter under Section 101 is a threshold legal issue, and a question of law that can be

   decided through a motion to dismiss at the pleading stage before formal claim construction. Bilski

   v. Kappos, 561 U.S. 593, 602 (2010); Bancorp Servs. LLC v. Sun Life Assurance Co., 687 F.3d

   1266, 1273 (Fed. Cir. 2012) (“[W]e perceive no flaw in the notion that claim construction is not

   an inviolable prerequisite to a validity determination under § 101.”); and see Four Winds

   Interactive LLC v. 22 Miles, Inc., No. 16-CV-00704-MSK-STV, 2017 WL 4334074, at *6 n. 8 (D.

   Colo. Mar. 28, 2017). Courts routinely find patents invalid under Section 101 based on the

   pleadings. E.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350 (Fed. Cir. 2014) (affirming district

   court’s finding of invalidity under § 101 at pleading stage); Genetic Techs. Ltd. v. Merial LLC.,



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  No. 2015–1202, 2016 WL 1393573, at *3 (Fed. Cir. Apr. 8, 2016) (“We have repeatedly

  recognized that in many cases it is possible and proper to determine patent eligibility under 35

  U.S.C. § 101 on a Rule 12(b)(6) motion.”).

          C.      Patent Eligibility Under 35 U.S.C. § 101

          Under the Supreme Court’s landmark decision in Alice, determining whether a patent is

  impermissibly directed to an abstract idea involves a two-part test. The Patents-in-Suit fail both

  steps of the Alice test.

          First, a court must “determine whether the claims at issue are directed to a patent-ineligible

  concept,” such as an abstract idea. Alice, 134 S. Ct. at 2355. Courts “start by ascertaining the

  basic character of the subject matter.” Internet Patents Corp. v. Active Network, Inc., 790 F.3d

  1343, 1348 (Fed. Cir. 2015) (“Internet Patents”). Then a Court must determine “whether the

  claims focus on a specific means or method that improves the relevant technology or are directed

  to a result or effect that itself is the abstract idea and merely invoke generic processes and

  machinery.” Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016) (internal

  quotations omitted).

          Second, if the claims are directed to an abstract idea, the court asks whether the claims

  contain “an ‘inventive concept’ sufficient to ‘transform’ the claimed abstract idea into a patent-

  eligible application.” Alice, 134 S.Ct. at 2357. Transformation of the abstract idea through

  inclusion of an inventive concept requires “an element or combination of elements that is sufficient

  to ensure that the patent in practice amounts to significantly more than a patent upon the ineligible

  concept itself.” Alice, 134 S.Ct. at 2355 (internal quotations omitted).

          This “inventive concept” must be more than a bare recitation of generic computing

  hardware already known in the art. Alice, 134 S. Ct. at 2358. Neither implementing the idea using

  “wholly generic computer[s]” or components, nor employing every-day platforms such as the



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  Internet or Apple’s iPhone devices, will save claims directed to abstract ideas. Id.; and see, e.g.,

  ’752, at 1:58-61, 4:17-22. Nor can an applicant obtain patent protection for a process capable of

  being “performed in the human mind, or by a human using a pen and paper.” CyberSource Corp.

  v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Instead, “[w]here the steps of the

  claim could be performed by a human being without a computer, the claim is likely directed to an

  abstract idea.” Content Aggregation Sols. LLC v. Blu Prods., Inc., No. 316-cv-00527-BEN-KSC,

  2016 WL 6995490, at *3 (S.D. Cal. Nov. 29, 2016); Intellectual Ventures I LLC v. Symantec Corp.,

  838 F.3d 1307, 1317 (Fed. Cir. 2016) (analogy to corporate mailroom is “useful”); and cf. ’752

  Patent, at Claim 6 (requesting human input).

  III.   ARGUMENT

         The asserted claims of the Patents-in-suit fail both steps of the Alice test: Each claim is

  directed to an abstract idea, and the claims lack any inventive concept sufficient to confer patent

  eligibility. At best, they take abstract ideas and implement them with off-the-shelf technology—

  which cannot render the claims patent eligible.

         A.      The Patents-in-Suit Are Directed to an Abstract Idea

         In order to confirm whether a claim is directed to an abstract idea, “the court must first

  ‘identify and define whatever fundamental concept appears wrapped up in the claim.’” Accenture

  Glob. Servs., GmbH v. Guidewire Software, Inc., 728 F.3d 1336, 1341 (Fed. Cir. 2013); see also

  Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016) (“Reflecting those

  points, we have described the first-stage inquiry as looking at the ‘focus’ of the claims, their

  ‘character as a whole[.]’”). The Supreme Court has declined “to delimit the precise contours of

  the ‘abstract ideas’ category,” Alice, 134 S.Ct. at 2357, but courts have found that “a claim is

  directed to an abstract idea when it describes a fundamental concept or longstanding practice.”

  Multimedia Plus, Inc. v. Playerlync, LLC, 198 F. Supp. 3d 264, 268 (S.D.N.Y. 2016),



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  reconsideration denied, No. 14CV8216, 2016 WL 5794779 (S.D.N.Y. Oct. 4, 2016), and aff'd,

  695 F. App’x 577 (Fed. Cir. 2017) (citing Morales v. Square, Inc., 75 F. Supp. 3d 716, 724 (W.D.

  Tex. 2014), aff'd, 621 F. App’x 660 (Fed. Cir. 2015)).

           The elements of Claim 6 of the ’752 Patent, representative of all asserted claims (see infra

  Section III.B), amount to nothing more than recognizing one piece of information (“e.g., a

  barcode”; ’752 Patent at 1:65-2:1) to retrieve other information (“information about the object”;

  id. at Claim 1).4 Under the first step of the Alice analysis, the ‘focus’ of Claim 6 is limited to

  recognition of data in a symbology in order to retrieve related information, with each step merely

  describing the logical, typical, and sequential manipulation of that data:

      Claim Language (including antecedent claims)             Abstract Idea
      1. A method comprising:
         capturing a digital image using a digital image Capturing data
            capturing device that is part of a portable
            electronic device;
         detecting symbology associated with an object Detecting data
             within the digital image using a portable
             electronic device;
         decoding the symbology to obtain a decode string Decoding data
            using one or more visual detection applications
            residing on the portable electronic device;


  4
        The Federal Circuit has held that a district court need not expressly address each asserted claim
        where the court concludes particular claims are representative because all the claims are
        “substantially similar and linked to the same abstract idea.” Content Extraction &
        Transmission LLC v. Wells Faro Bank, Nat’l Ass’n, 776 F.3d 1343 at 1348 (citation omitted);
        see also Mortgage Grader, Inc. v. First Choice Loan Servs. Inc., 811 F.3d 1314, 1324 n.6 (Fed.
        Cir. 2016); Concaten, Inc. v. Ameritrak Fleet Sols., LLC, 131 F. Supp. 3d 1166, 1169-70 n.3
        (D. Colo. 2015), aff'd, 669 F. Appx 571 (Fed. Cir. 2016) (for the purposes of deciding whether
        a patent is directed to an ineligible abstract idea, the court “may assume that the other claims
        in the patents do not differ significantly from [a representative claim],” citing Mayo, 566 U.S.
        at 73).




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      sending the decode string to a remote server for Sending data
         processing;
      receiving information about the object from the Receiving data
         remote server wherein the information is based
         on the decode string of the object;
      displaying the information on a display device Displaying data
          associated with the portable electronic device.
      (Claim 5) wherein the one or more visual detection Automatically detecting data
         systems are configured to automatically detect
         the symbology.
      (Claim 6) alerting the user when an image Requesting input
         containing symbology has been detected;
      asking the user if decoding of the symbology is
          desired; and
      receiving a reply from the user.                      Receiving input

  ’752 Patent, at Claims 1, 5, and 6.

         Each of these steps seeks to achieve nothing more than a logical, generic, functional step,

  such as would be performed by a conventional computer or by an individual human. Whether

  considered individually or as part of the larger claim, such broad concepts merely recite “an

  abstraction – an idea, having no particular concrete or tangible form.” Ultramercial, Inc. v. Hulu,

  LLC, 772 F.3d 709, 715 (Fed. Cir. 2014). Inclusion of a generic computing device and other

  conventional components, whether a “portable electronic device,” a “remote server,” a “display

  device,” or “visual detection systems” does not make the claims more tangible. See ’752 Patent,

  at Claim 1; and see id. 1:38-61, 2:57-61, 3:29-36, 5:33-42; Alice, 134 S.Ct. at 2358. Claim 6

  instead exemplifies abstract subject matter under Section 101, as the Federal Circuit has held that

  “collecting information, including when limited to particular content (which does not change its

  character as information)” and “analyzing information by steps people go through in their minds,

  or by mathematical algorithms” are mental processes that fall within the realm of abstract ideas.

  Elec. Power Group LLC v. Alstom SA, 830 F.3d 1350, 1353-54 (Fed. Cir. 2016).




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          Moreover, the common specification for the Patents-in-Suit concedes that technology for

  interpreting, decoding, and interacting with barcodes were commonplace before the purported

  invention of the claimed subject matter. E.g., ’752 Patent, at 3:29-36. The common specification

  even directs practitioners to use conventional, well-known technology and applications to perform

  each of the steps for capturing, detecting, decoding, and otherwise interacting with data (including

  from a barcode). The alleged shortcomings in the prior art, according to the patentee, reduces to

  a matter of convenience: “Since a user may have dozens of applications loaded on his or her

  portable electronic device, it may be difficult to select the appropriate application for executing the

  scanning functions.” ’752, at 3:36-39. But adding a computer or “portable electronic device” to

  make the process more convenient does not change the abstract nature of the claimed idea. See

  Bancorp, 687 F.3d at 1279 (“Using a computer to accelerate an ineligible mental process does not

  make that process patent-eligible”). Succinctly put, the applicant sought to automate a process

  that was purportedly5 performed manually. But the common specifications are silent as to how to

  accomplish this supposedly central task. And see Internet Patents, 790 F.3d at 1348 (concluding

  that claim not directed to patent-eligible subject matter where “[t]he mechanism for maintaining

  the state is not described, although this is stated to be the essential innovation.”).



  5
      As set forth in OtterBox’s Countercomplaint, filed concurrently with this motion, prior art
      existed well before the priority dates of the Patents-in-Suit performing the steps alleged to
      infringe by Plaintiff’s Complaint. See, e.g., “Using QR Codes,” YouTube.com, available at
      https://www.youtube.com/watch?v=IphTJHiKGos (posted Jan. 27, 2009) (last visited May 18,
      2018);     “Introduction       to    QR       Codes”,     YouTube.com,       available     at
      https://www.youtube.com/watch?v=LMKLwFEiwOc (posted Aug. 20, 2009) (last visited May
      18, 2018) (at time code 0:14, “They [QR codes] often feature URLs that direct users to sites
      that provide more information about the QR tagged object or place, thus hyperlinking the
      physical world to the Internet.” (emphasis added)); “QR Code Business Cards,” YouTube.com,
      available at https://www.youtube.com/watch?v=VEuX23iy2A4 (posted Sept. 25, 2009) (last
      visited May 16, 2018).




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         Claim 6 of the ’752 Patent is limited to the detection, decoding, and handling of data, and

  reacting to a user’s input in response, as performed by known (and expressly referenced)

  technologies. But this type of result-focused, functional language is not patent-eligible because it

  threatens to monopolize the abstract idea itself. See Affinity Labs of Texas, LLC v. DIRECTV,

  LLC, 838 F.3d 1253, 1265 (Fed. Cir. 2016), cert. denied sub nom. Affinity Labs of Texas, LLC v.

  DIRECTTV, LLC, 137 S. Ct. 1596 (2017) (“[C]laims that are ‘so result-focused, so functional, as

  to effectively cover any solution to an identified problem’ are frequently held ineligible under

  section 101.” (citing Elec. Power Group, 830 F.3d at 1353-54)); Ameranth, 842 F.3d at 1241; see

  also Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir.

  2017) (“The claim requires the functional results of ‘converting,’ ‘routing,’ ‘controlling,’

  ‘monitoring,’ and ‘accumulating records,’ but does not sufficiently describe how to achieve these

  results in a non-abstract way.”). Claim 6 is directed to abstract, patent-ineligible subject matter

         Other courts have found similar claims to be ineligible. Recently in Secured Mail Sols.

  LLC v. Universal Wilde, Inc., the Federal Circuit affirmed the patent-ineligibility of claims directed

  to using bar codes and QR codes to retrieve information about pieces of mail. 873 F.3d 905 (Fed.

  Cir. 2017) (“Secured Mail”). In Secured Mail, the claims sought to cover “a method whereby a

  barcode is generated, affixed to a mail object, and sent through the mail system” and “upon receipt,

  the barcode is scanned, and data corresponding to the sender is sent to the recipient over the

  network and displayed on the recipient’s device.” 873 F.3d at 910-11. Like the Patents-in-Suit,

  the claims were “not limited to any particular technology of generating, printing, or scanning a

  barcode, of sending a mail object, or of sending or receiving the recipient-specific information

  over a network.” Id. at 911. The Federal Circuit concluded that “each step of the process [was]

  directed to the abstract process of communicating information about a mail object using a

  personalized marking,” in particular “QR Codes.” Id. Since the claims were “non-specific and



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  lack[ed] technical detail,” employing “well known” technology and hardware, the Federal Circuit

  concluded that the claims lacked an inventive concept under Section 101. Id. at 912.

         The Federal Circuit reached the same conclusion in Content Extraction & Transmission

  LLC v. Wells Fargo Bank, Nat. Ass’n, where it affirmed the ineligibility of claims generally

  reciting “a method of 1) extracting data from hard copy documents using an automated digitizing

  unit such as a scanner, 2) recognizing specific information from the extracted data, and 3) storing

  that information in a memory.” 776 F.3d 1343, 1345 (Fed. Cir. 2014) (“Content Extaction”). The

  Federal Circuit agreed with the district court, concluding that “the claims of the asserted patents

  are drawn to the abstract idea of 1) collecting data, 2) recognizing certain data within the collected

  data set, and 3) storing that recognized data in a memory[,]” and noting that the “concept of data

  collection, recognition, and storage is undisputedly well-known. Indeed, humans have always

  performed these functions.” Id. at 1347. The inclusion of a scanner in the claims at issue in

  Content Extraction did not alter the subject matter’s abstract nature, which the Federal Circuit

  analogized to the patents in Alice that “also required a computer that processed streams of bits, but

  nonetheless were found to be abstract.” Id. Little separates the asserted claims from the analysis

  of Content Extraction. While those claims were directed to “data collection, recognition, and

  storage” (Id.), the asserted claims are directed to data recognition and retrieval. There is no

  defensible distinction in the abstract nature of the respective claims, where one sought to claim

  ‘storage’ of recognized data and the instant claims instead ‘retrieve’ data based on recognized data.

         Claim 6 of the ’752 is no less abstract than the subject matter already found invalid and

  unpatentable by the Federal Circuit in Content Extraction and Secured Mail. The Claim includes

  no specific limitations or steps informing the process of extracting or decoding data from the

  symbology; nor does it inform how the “automatic” detection or requests for user input could be

  accomplished. Each of the steps required to fulfill the claimed method are instead directed to



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  generic, conventional ideas of seeing an image, detecting the existence of a symbol or barcode that

  might represent data, interpreting that symbol, then taking action in response to the decoded

  symbol. E.g., Cyberfone Sys., EEC v. CNN Interactive Grp., Inc., 558 F. App’x 988, 992 (Fed.

  Cir. 2014) (finding claim directed to “the well-known concept of categorical data storage, i.e., the

  idea of collecting information in classified form, then separating and transmitting that information

  according to its classification, is an abstract idea that is not patent-eligible”). The patentee’s

  reference to well-known components to accomplish these functions fails to make the claimed

  subject matter any less abstract. E.g., Ultramercial, 772 F.3d at 716 (noting that “the use of the

  Internet is not sufficient to save otherwise abstract claims from ineligibility under § 101”) (citation

  omitted).

         By only claiming the desired result—recognizing and retrieving information associated

  with a pattern like a barcode — without describing any specific roadmap for doing so, Claim 6 of

  the ’752 Patent falls short of claiming eligible subject matter under Section 101. See Internet

  Patents, 790 F.3d at 1348; Secured Mail, 873 F.3d at 910-11.

         B.      The Remaining Claims of the Patents-in-Suit are Also Abstract and Invalid

         Courts may analyze representative claims when other asserted claims are “substantially

  similar and linked to the same abstract idea.”           Content Extraction, 776 F.3d at 1348.

  Notwithstanding, the remaining asserted claims of the Patents-in-Suit as substantially similar to

  Claim 6 of the ’752 Patent, and they -- and the remaining claims not specifically asserted -- are

  similarly linked to the same patent-ineligible abstract idea of data recognition and retrieval.

         In addition to Claim 6 of the ’752 Patent, Symbology’s Complaint alleges infringement of

  Claim 6 of the ’369 Patent and Claim 6 of the ’190 Patent. See Complaint, at ¶ 37 (alleging

  infringement of Claim 6 of the ’369 Patent); ¶ 51 (Claim 6 of the ’190 Patent); and see id. at ¶ 23

  (Claim 6 of the ’752 Patent). Each of the other asserted claims is substantively identical to Claim



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  6 of the ’752 Patent, using slightly different terms that do not in any way transform the abstract

  nature of the claim. See Appendix A (showing changes from ’752 to ’369; deleting ’752’s

  language “of the object” in Claim 1 of the ’369; replacing “about the object” with “about the digital

  image”); Appendix B (showing changes from ’752 to ’190; replacing “portable electronic device”

  with “portable device”; replacing “object” with “digital image”). The analysis under Alice does

  not depend on any of the subject differences, which consequently do not affect the resulting patent

  ineligibility of the asserted claims.

          Further, the remaining claims of the Patents-in-Suit not specifically asserted in the

  Complaint are also patent-ineligible under Alice. The remaining claims recite insignificant pre- or

  post-solution activity, such as permitting the user to select presets (’752 Claims 2 and 3), having

  the visual detection system run in the background (id. at Claim 4), or having the user trigger the

  visual detection device (id. at Claim 7). And see, e.g., ’752 Patent at cls. 2, 3, 4, 7-16, 17-23, and

  24-28; ’369 Patent at cls. 2, 3, 4, 7-16, 17-23, and 24-28; ’190 Patent at cls. 2, 3, 4, 7-16, and 17-

  19, 20. These remaining claims seek to lay claim the same abstract concept of data recognition

  and retrieval, adding only token variations to the claims discussed in detail herein. These token

  pre- and post-solution activities do not meaningfully limit the Patents-in-Suit. See, Mayo, 566

  U.S. 66 at 75-76,78-79; and see id. at 79 (“Such a broad and general limitation does not impose

  meaningful limits on the claim's scope.”); see also e.g., Bilski, 561 U.S. at 610; Diamond v. Diehr,

  450 U.S. 175, 191-92 & n.14 (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978); Fort Props.,

  Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012).

          The token limitations differentiating the balance of claims in the Patents-in-Suit from those

  discussed above do nothing to render the same patent eligible or directed towards something more

  tangible than data recognition and retrieval, and fail the first step of the Alice test for the same

  reasons.



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         C.      The Patents-in-Suit Do Not Have a Transformative Step

         Once the Court determines that claims are directed to an abstract step, the second step of

  the Alice test considers whether the claims contain “an ‘intentive concept’ sufficient to ‘transform’

  the claimed abstract idea into a patent-eligible application.” Alice, 134 S.Ct. at 2357. Any such

  “additional   features”   must    be   “more    than   ‘well-understood,    routine,   conventional

  activity.’” Id. (quoting Mayo, 566 U.S. at 79–80).6

         Claim 6 of the ’752 Patent does not add any “additional features” at all – much less features

  that amount to “more than a well-understood, routine, conventional activity” sufficient to qualify

  as an “inventive concept.” Ultramercial, 772 F.3d at 715 (quotation omitted). The ’752 Patent

  does not – nor could it – claim that the requisite steps of recognizing and retrieving data were in

  any way new or part of the contribution of the Patents-in-Suit. Instead, the common specification

  repeatedly describes the use of conventional, well-known components and processes to accomplish

  the steps of the asserted claims, from the claimed “portable electronic device,” and extending

  through the application performing any processing and to the symbology itself.

         The “portable electronic device” is disclosed as literally any portable electronic device

  including “both applications and imaging systems.” (’752 Patent, at 1:58-61, including “Apple

  Computer’s iPhone, Google’s Droid, and various mobile devices from Motorola”). These generic

  “portable electronic devices” are described as running readily-available applications to perform

  the claimed methods detection and decoding functions. See, e.g., id. at 3:31-33 (“Examples of

  applications that allow scanning include Neomedia’s Neo Reader, Microsoft’s Smart Tags,

  Android’s Shop Savvy, Red Laser, ScanBuy, etc.”). And these applications are used to scan

  symbologies used by the public for literally half a century, including barcodes. See, e.g., id. at


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      Four Winds Interactive LLC v. 22 Miles, Inc., No. 16-CV-00704-MSK-STV, 2017 WL
      4334074, at *9 (D. Colo. Mar. 28, 2017)



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  2:57-61 (“Using any applicable visual detection device (e.g., a camera, scanner or other device)…

  the user may select an object by scanning or capturing an image of symbology (e.g., barcodes)

  associated with the object”); and see, e.g., U.S. Patent No. 2,612,994 (issued Oct. 7, 1952, titled

  “Classifying Apparatus and Method”); U.S. Patent No. 5,726,435 (issued Mar. 10, 1998, regarding

  accused QR code).

          The information decoded from the symbology is then sent to a remote server, again

  composed of generic components, implemented “in various forms of hardware, software,

  firmware, special purpose processors, or a combination thereof.”          Id. at 9:65-10:1.     The

  specification provides examples of potential “remote servers” – websites visited by millions of

  visitors in the United States each day, “such as Amazon.com.”               Id. at 5:38-42.     The

  communications with the remote server are conveyed using an equally conventional infrastructure,

  composed of generic components including “a server 12, a storage medium 14, a portable

  electronic device 16, one or more satellites 18, one or more satellite dishes 20, one or more mobile

  terminal communication towers 22, [and] one or more Wi-Fi towers 24.” Id. at 3:61-67; and see

  id. 4:7-16 (The portable electronic device and server may be connected by “any suitable means”

  including “the Internet”). Finally, the system purports to ask the user for direction as to whether

  to act upon a detected symbology. See, e.g., Complaint, at ¶ 29; and see ’752, at 11:18-22 (“the

  symbology management module may prompt the user as to whether he or she wishes to pursue the

  decoding of the symbology[.]”).

         Throughout these systems and processes, no specialized components or applications are

  required – much less disclosed – by the specification or the claims. Courts have repeatedly held

  that the inclusion of generic hardware or software components, such as those described in the

  Patents-in-Suit, do not render an abstract idea patent-eligible. See, e.g., buySAFE, Inc. v. Google,

  Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer receives and sends the information



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  over a network—with no further specification—is not even arguably inventive.”); Content

  Extraction, 776 F.3d at 1348 (“At most, [the] claims attempt to limit the abstract idea of

  recognizing and storing information from hard copy documents using a scanner and a computer to

  a particular technological environment. Such a limitation has been held insufficient to save a claim

  in this context.”); cf. In re Salwan, 681 F. App’x 938, 941 (Fed. Cir. 2017) (“Given that the claims

  are directed to well-known business practices, the claimed elements of a generic ‘network,’

  ‘computer program,’ ‘central server,’ ‘device,’ and ‘server for processing and transferring’ are

  simply not enough to transform the abstract idea into a patent-eligible invention.”).

         The Patents-in-Suit fail to describe any innovative mechanism to achieve the purported

  results in a non-abstract way. See, e.g., Alice, 134 S. Ct. at 2359. Nor do the Patents-in-Suit

  “purport to improve the functioning of the computer itself.” Id. at 2359. Instead, the Patents-in-

  Suit claim the advantage disclosed is the mitigation of ‘difficulty’ “select[ing] the appropriate

  application for executing the scanning functions.” ’752 Patent, at 3:36-39. But claiming a more

  convenient way to perform an abstract idea using computers as a tool is not a technological

  solution, and the Patents-in-Suit fail to disclose any non-conventional mechanism for achieving

  the purported advantage. See Intellectual Ventures I, 792 F.3d at 1367 (“[Claiming the improved

  speed or efficiency inherent with applying the abstract idea on a computer [does not] provide a

  sufficient inventive concept.”); see also Phoenix Licensing EEC. v. Consumer Cellular, Inc., No.

  2:16-CV-0152-JRG-RSP, 2017 WL 1065938, at *23 (ED. Tex. Mar. 8, 2017) (“Problems such as

  ‘substantial amount of human involvement,’ . . . [and] lack of an “effective distribution solution’

  ... are industry-related problems, not the type of true technological problems solved by inventions

  held to be patent-eligible by the Federal Circuit.”) (emphasis in original).

         The claims of the Patents-in-Suit, whether considered as individual steps or as a whole, fail

  to add “significantly more” to the abstract idea of data recognition and retrieval. The claims of the



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  Patents-in-Suit are therefore invalid, as they lack any inventive concept that transforms the abstract

  idea of data recognition and retrieval into a patent-eligible invention.7

           D.      The Patents-in-Suit Threaten to Preempt the Field

           Concern over pre-emption over a field “undergirds [the] § 101 jurisprudence.” Alice, 134

  S. Ct. at 2358. The claims of the Patents-in-Suit are unbounded, and could be implemented using

  virtually any device capable of taking a photograph, any conventional scanning or decoding

  application, and any generic server capable of processing information requests. The scope of the

  asserted claims thereby threatens to preempt all methods for recognizing and retrieving data based

  on a pattern (including barcodes, which have been in use for over half a century). See, e.g., Loyalty


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      Nor could any amendment contend there is evidentiary support for the presence of such an
       ‘inventive concept,’ including at least because Symbology cannot argue there is any possible
       “inventive” aspect to using a well-known, generic process (e.g., decoding a QR code, much
       less a barcode) to access a website. See ’752 Patent, at 4:47-55 (“[T]he portable electronic
       device 16 may be configured to capture an image of the barcode 30 and decode the barcode to
       acquire the associated identification code of the object. Using standard and existing computer
       processing power and software solutions such as Attrasoft Image recognition software, or
       optical character recognition software (OCR software such as OmniPage or ReadIris), the
       image or name of the object may be decoded to determine the identity of the object.”); id. at
       3:31-33 (“Examples of applications that allow scanning include Neomedia’s Neo Reader,
       Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.”); Complaint, at ¶¶
       28 (“[T]he information received by the user and displayed on the portable electronic device …
       includes a website providing additional information[.]”), 29, 42-43, 55-57; see also, e.g.,
       “Using            QR            Codes,”           YouTube.com,            available         at
       https://www.youtube.com/watch?v=IphTJHiKGos (posted Jan. 27, 2009) (last visited May 18,
       2018);      “Introduction      to     QR       Codes”,     YouTube.com,        available    at
       https://www.youtube.com/watch?v=LMKLwFEiwOc (posted Aug. 20, 2009) (last visited May
       18, 2018) (at time code 0:14, “They [QR codes] often feature URLs that direct users to sites
       that provide more information about the QR tagged object or place, thus hyperlinking the
       physical world to the Internet.” (emphasis added)); “QR Codes Everywhere,” YouTube.com,
       available at https://www.youtube.com/watch?v=2vS3R2u7sXA (posted Dec. 22, 2008) (last
       visited May 18, 2018) (at timecode 0:20 “In the UK, they [QR codes] are expected to be the
       hottest trend in 2009” (emphasis added)); id. at timecode 0:57 (“All they have to do is grab a
       phone that has a barcode scanner on it, and almost all phones shipping to the States now from
       Nokia include this, this is the Google phone – they have a project called Zebra Crossing –
       iPhone has a ton of applications” (emphasis added”); “QR Code Business Cards,”
       YouTube.com, available at https://www.youtube.com/watch?v=VEuX23iy2A4 (posted Sept.
       25, 2009) (last visited May 16, 2018).



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  Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding

  “preemptive effect . . . broad” where “the claims [were] largely functional in nature, they [did] not

  provide any significant description of the particular means by which the various recited functions

  are performed,” and “[a]ll that [was] disclosed [was] the ultimate objective”). The patentee chose

  to describe the invention at a functional, high-level in an effort to cover all methods of data

  recognition and retrieval. As a result, the claims create a high risk of preemption, and are invalid

  under Section 101.

  IV.    CONCLUSION

         For the reasons set forth above, each asserted claim of the Patents-in-Suit is not directed to

  patent-eligible subject matter, and is therefore invalid under Section 101.



   Dated: May 31, 2018                           Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 31, 2018, a true and correct copy of the foregoing document

  was served via CM/ECF to all counsel of record.

                                                     /s/ James Beard
                                                     James Beard




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